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                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS


AMY WEXLER & PHILIP WEXLER,

        Plaintiffs,

v.                                                          Civil Action No. _______

BATH & BODY WORKS, INC., BATH &
BODY WORKS, LLC, JOHN/JANE DOE 1-10,
and CORPORATION “X” 1-10,

        Defendants.


                                   NOTICE OF REMOVAL

       Pursuant to 28 U.S.C. §§ 1332, 1441, and 1446, Defendants Bath & Body Works, Inc.

(“BBW, Inc.”) and Bath & Body Works, LLC (“BBW, LLC”) (collectively “BBW”) hereby

remove this civil action and all causes of action therein from the Worcester County Superior

Court of the Commonwealth of Massachusetts (the “State Court”) to the United States District

Court for the District of Massachusetts. As grounds for removal, BBW states the following:

       A.      Plaintiffs’ Complaint and Procedural History

       1.      On July 12, 2022, Plaintiffs’ Amy and Philip Wexler (collectively “Wexler”)

commenced an action in the Massachusetts Superior Court located in Worcester County

captioned as Wexler v. Bath & Body Works, Inc., Docket No. 2285CV00802 (the “State Court

action”). A copy of the State Court docket is attached as Exhibit A.

       2.      In the Complaint, Wexler alleges that BBW sold her a candle that allegedly

exploded and burned Wexler’s hands and feet causing burns, pain, discomfort, and scarring. As a

result, Wexler alleges she has continued hand pain and has received multiple surgeries and

physical therapy and requires further medical care in the future. Wexler asserted claims against
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all Defendants for negligence, negligent misrepresentation, strict liability, breach of implied

warranty, breach of express warranty, and loss of consortium. Wexler’s statement of damages

pursuant to G.L. c. 212, § 3A claims over $1,195,000 in damages stemming from the allegations

in the Complaint.

       3.      BBW was served with Wexler’s Complaint (the “Complaint”) by a Deputy

Sheriff on August 12, 2022. The service of process transmittal summary shows that BBW’s

Registered Agent in Massachusetts, CT Corporation System, received service by drop service on

August 12, 2022. A true copy of the Summons, Complaint, Civil Action Cover Sheet, and

Tracking Order served upon BBW is attached as Exhibit B. A true and accurate copy of the

Proof of Service is attached as Exhibit C. BBW has not received any other pleadings or orders in

the State Court action. To BBW’s knowledge, apart from the filing of the Complaint, there have

been no further proceedings in the State Court. See Exhibit A.

       4.      BBW denies all liability for Wexler’s claims in the Complaint and has valid

defenses thereto. By removing this action from the State Court, BBW does not waive any

defenses available to it and does not admit any of the allegations in the Complaint.

       B.      The Court Has Diversity Jurisdiction Over This Matter Because There Is
               Complete Diversity Between Plaintiffs and Defendants and the Amount in
               Controversy Exceeds $75,000.

       5.      The basis for jurisdiction in this Court is diversity of citizenship under 28 U.S.C.

§ 1332(a). Section 1332(a) provides, in pertinent part, that “[t]he district courts shall have the

original jurisdiction of all civil actions where the matter in controversy exceeds the sum or value

of $75,000, exclusive of interest and costs, and is between . . . citizens of different States.”

       6.      While the Complaint does not allege a specific damage amount, a preponderance

of the evidence strongly suggests that the amount in controversy is substantially higher than



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$75,000. See Baker v. Equity Residential Management, LLC, 996 F. Supp. 2d. 1, 3 (D. Mass.

2014) (clarifying evidentiary standard for diversity of citizenship applies to amount in

controversy requirement). Here, Wexler’s Civil Action Covert Sheet alleges over $1,195,000 in

damages including approximately $235,000 in “documented medical expenses to date” which by

themselves would exceed the $75,000 threshold. See Exhibit B, Civil Action Cover Sheet;

Salvail v. Relocation Advisors, Inc., No. 11-10500, 2011 WL 1883861, at *1 n.1 (D. Mass. May

17, 2011) (Stearns, J.) (finding amount in controversy requirement met where damages listed on

civil action cover sheet exceed $75,000). While not specifically pleaded, the damage allegations

in the Complaint support a finding that the amount in controversy exceeds $75,000 as Wexler

alleges “severe burns, injuries and pain to her hands and feet [requiring] future medical care,

including physical therapy and pain management . . . mental distress and anguish and . . .

permanent impairment of the use and function of here hands and feet and other damages.” See

Exhibit B, Complaint, at ¶31; Williams v. Litton Loan Servicing, No. 10-11866, 2011 WL

3585528, at *6 (D. Mass. Aug. 15, 2011) (Wolf, J.) (discouraging reliance on civil action cover

sheet where contradicted by complaint itself). These allegations in the Complaint support, rather

than contradict, the claim of documented medical expenses on the Civil Action Cover Sheet.

Accordingly, this action satisfies the $75,000 amount in controversy requirement of 28 U.S.C. §

1332(a).

       7.      There is complete diversity of citizenship between the plaintiff and each of the

defendants. As alleged in the Complaint, Wexler (Amy and Philip) is a citizen of Massachusetts.

See Exhibit B, Complaint at ¶¶ 1-2.

       8.      Based upon information and belief, the Complaint’s allegations concerning the

citizenship of each party is true and accurate.



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           9.      As alleged in the Complaint, Defendant BBW, Inc. is a corporation incorporated

under the laws of the State of Delaware with a principal place of business located at 7 Limited

Parkway East, Reynoldsburg, Ohio 43068. Pursuant to 28 U.S.C. § 1332(c)(1), a “corporation

shall be deemed to be a citizen of every State . . . by which it has been incorporated and of the

State . . . where it has its principal place of business . . . .” Accordingly, Defendant BBW, Inc. is

a citizen of both Delaware and Ohio and is fully diverse from Plaintiff as a Massachusetts

citizen.

           10.     As alleged in the Complaint, Defendant BBW, LLC is a Limited Liability

Company organized under the laws of the state of Delaware with its principal place of business

located at 2 Limited Parkway, Columbus, Ohio, 43230. In this Circuit, “[f]or the purposes of

diversity jurisdiction, the ‘citizenship of a limited liability company is determined by the

citizenship of all of its members.’” North Beacon 155 Associates LLC v. Mesirow Financial

Interim Management LLC, No. 15-11750, 2015 WL 13427609, *1 (D. Mass. June 29, 2015)

(Sorokin, J.) (quoting D.B. Zwirn Special Opportunities Fund, L.P. v. Mehrotra, 661 F.3d 124,

125 (1st Cir. 2011). BBW, LLC’s sole member is Retail Store Operation, Inc., a corporation

incorporated in Delaware with a principal place of business in Ohio. Accordingly, Defendant

BBW, LLC is a citizen of both Delaware and Ohio as its sole member is a citizen of Delaware

and Ohio and is thus fully diverse from Plaintiff as a Massachusetts citizen.

           11.     The Complaint also alleges multiple fictitious defendants, namely “Defendants,

John/Jane Doe(s) 1-10” and “Defendants, Corporation(s) “X” 1-10” who contributed to the

damages alleged in the Complaint. Under 28 U.S.C. § 1441(b), “[i]n determining whether a civil

action is removable on the basis of the jurisdiction under section 1332(a) of this title, the

citizenship of defendants sued under fictitious names shall be disregarded.” Accordingly, the



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presence of unnamed and fictious Defendants John/Jane Doe(s) 1-10 and Corporation(s) “X” 1-

10 is disregarded from the diversity analysis under 28 U.S.C. § 1332(a).

       C.        Removal is Timely

       12.        This Notice of Removal is timely. BBW files this Notice of Removal within

thirty days of service of the Summons and Complaint upon BBW. See 28 U.S.C. §

1446(b)(2)(B).

       13.       BBW was served via its Registered Agent on August 12, 2022 as the Proof of

Service shows that BBW received service on August 12, 2022 and is filing this Notice of

Removal within the thirty (30) day timeframe provided by 28 U.S.C. § 1446(b)(2)(B). See

Exhibit C.

       D.        Other Procedural Matters

       14.       Pursuant to 28 U.S.C. § 1446(a), a copy of all process, pleadings, and orders

served upon BBW is attached. See Exhibit B.

       15.       All defendants have joined in this Notice of Removal. See 28 U.S.C. §

1446(b)(2)(A).1

       16.       Pursuant to 28 U.S.C. § 1446(d), written notice of this removal will be promptly

provided to all parties upon filing, and a copy of this notice will be filed with the clerk of the

State Court, which shall effect the removal of the State Court action and the State Court shall

proceed no further unless and until the case is remanded.




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 As stated in ¶11 above, the citizenship of defendants sued under fictious names is disregarded
and so 28 U.S.C. § 1446(b)(2)(A) does not require the joinder of fictious defendants to removal.
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           17.     Pursuant to Local Rule 81.1, BBW has requested a certified copy of the docket

and all records and proceedings in the State Court and will file the same with this Court upon

receipt.

           18.     Pursuant to 28 U.S.C. § 1441(a), this action is properly removed to this Court

because this is the federal district embracing the place where the State Court action is pending.

                                            CONCLUSION

           This civil action features complete diversity of citizenship between the plaintiff and all

defendants. Plaintiff Wexler is a citizen of Massachusetts, while BBW, Inc. and BBW, LLC are

not. In addition, the amount in controversy exceeds the sum of $75,000. For these reasons, the

case is subject to this Court’s original jurisdiction pursuant to 28 U.S.C. §§ 1332, 1441, and

1446.

Dated: September 1, 2022.



                                                         Respectfully submitted,

                                                         BATH & BODY WORKS, INC. and
                                                         BATH & BODY WORKS, LLC,


                                                         /s/ Ryan Forgione
                                                         ___________________________________
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                               CERTIFICATE OF SERVICE

       I, Ryan O. Forgione, hereby certify that on September 1, 2022, a copy of the above has
been served on all parties via e-email and first-class mail as follows:

David Bricker, Esq.
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                                                   /s/ Ryan Forgione
                                                   ____________________________________
                                                   Ryan O. Forgione, Esq.




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